    CASE 0:10-cr-00169-RHK-JSM   Doc. 103   Filed 03/29/11   Page 1 of 1



                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                       Cr. No. 10-169(2)RHK/JSM

UNITED STATES OF AMERICA,        )
                                 )
                  Plaintiff,     )
                                 )
          v.                     )    ORDER
                                 )
JUSTIN JAMES LUSSIER,            )
                                 )
                  Defendant.     )


     The motion of the United States to dismiss the indictment is

hereby GRANTED.


Dated: 3/29/11                   s/Richard H. Kyle
                                 RICHARD H. KYLE
                                 UNITED STATES DISTRICT JUDGE
